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                              UNITED STATES DISTRICT COURT
                               NOTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

MICAH CROFFORD BROWN,                           §
                                                §
                      Petitioner,               §
                                                §
v.                                              §    Civil Action No. 3:19-CV-2301-L-BN
                                                §
BOBBY LUMPKIN, Director,                        §
                                                §
                      Respondent.               §

               ORDER DIRECTING FILING OF STATE TRIAL EXHIBITS

        The matter before the court is Respondent’s failure to comply with this Court’s Order

issued October 23, 2019 (ECF no. 9), which directed Respondent to file a complete set of all state

court records relevant to Brown’s trial, direct appeal and state habeas corpus proceedings. (ECF

no. 9, ¶ 8).

        At trial and during Brown’s state habeas corpus proceeding, the state courts had before

them video and audio recordings which were played in open court for the jury. Specifically, the

state trial court admitted into evidence and Brown’s jury heard or watched recordings of:

1. State Trial Exhibit no. 39 – a CD containing the audio recording of the 911 calls placed by

Stella Ray shortly before her death which included the sound of the fatal shot being fired;

2. State Trial Exhibit no. 44 – a CD containing the video taken by the police dashboard camera

from officer Greg Hughes’s vehicle showing the firing of the fatal shot;

3. State Trial Exhibit no. 46 – a CD containing the video and audio recording of Brown’s interview

by police on July 21, 2011;

4. State Trial Exhibit no. 49A – a CD containing the video and audio recording of Brown’s

interview by a CBS 11 television reporter;
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5. State Trial Exhibit no. 40 – a CD containing voice mail messages sent to Tracy Williams; and

6. State Trial Exhibit no. 391 – a CD containing an excerpt from a jail telephone call recorded

November 22, 2011.

       In addition, during Brown’s state habeas corpus proceeding, the state habeas trial court

admitted into evidence the following:

7. State Habeas Exhibit no. 2 – a video recording of Brown’s “police interview”; and

8. State Habeas Exhibit no. 3 – a video recording of Brown’s “news interviews.”

       This Court has spent many weeks carefully reviewing the entirety of the voluminous state

court records submitted electronically to the Clerk by Respondent (ECF nos. 52-59) but has been

unable to locate any of the foregoing trial or state habeas exhibits.

       It is hereby ORDERED that on or before twenty-one days from the date of this Order,

Respondent shall file with the Clerk of this Court true and correct copies of each of the eight items

listed above. Each item shall be in a format which this Court can open and review. Respondent

is directed to contact the Clerk of the Court to ascertain which electronic formats are accessible by

this Court.

       SIGNED April 21, 2022.

                                               _______________________________________
                                               DAVID L. HORAN
                                               UNITED STATES MAGISTRATE JUDGE




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